                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE

     ACT, INC.,                                     )
                                                    )        Case No. 3:18-cv-186
            Plaintiff & Counter-Defendant,          )
                                                    )        Judge Travis R. McDonough
     V.                                             )
                                                    )
     WORLDWIDE INTERACTIVE                          )
     NETWORK and TERESA CHASTEEN,                   )
                                                    )
            Defendants & Counter-Claimant.          )




                                SUPPLEMENTAL VERDICT FORM



                              WIN'S COUNTERCLAIMS AGAINST ACT
            INTENTIONAL INTERFERENCE WITH BUSINESS RELATIONSHIPS


    QUESTION NO. 1: Do you find by clear and convincing evidence that WIN is entitled to
    punitive damages?

              Yes:          /
              No:




   Have the foreperson sign and date this form and return it to the court officer.




                                                                FOREPERSON

                                                                        q \q  I~@
                                                                DATE

                                                    I

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